Case Case
     7:18-cr-00396
          7:18-cr-00396
                   *SEALED*
                        Document
                            Document
                                 6 Filed
                                      1 in
                                         Filed
                                            TXSD
                                               in TXSD
                                                   on 04/17/18
                                                        on 03/13/18
                                                               Page Page
                                                                    1 of 21 of 2
Case Case
     7:18-cr-00396
          7:18-cr-00396
                   *SEALED*
                        Document
                            Document
                                 6 Filed
                                      1 in
                                         Filed
                                            TXSD
                                               in TXSD
                                                   on 04/17/18
                                                        on 03/13/18
                                                               Page Page
                                                                    2 of 22 of 2
